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                    EXHIBIT 6


                       CONFIDENTIAL
 In accordance with a protective order, the enclosure(s)
shall be treated as confidential and shall not be shown to
   any person other than those persons designated in
           paragraph 8.2 of the paragraph order.
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FEDERAL RESERVE SYSTEM                            proposed changes did not affect part Iof               supported the substantive policy
                                                  the PSR policy, Federal Reserve                        revisions set out in the proposal, but
[Docket No. OP-1191]                              Daylight Credit Policies, other than to                varied in regard to the Board's series of
                                                  renumber it as part II.                                specific questions on the policy
Policy on Payments System Risk
                                                     The Board proposed these revisions to               threshold, the definition of asystem, the
AGENCY: Board of Governors of the                 update the policy in light of current                  general policy expectations, and the
Federal Reserve System.                           industry and supervisory risk-                         criteria for determining asystemically
ACTION: Notice.                                   management approaches and the recent                   important system. Several commenters
                                                  publication of new international risk-                 also discussed risks related to third-
SUMMARY: The Board has adopted                    management standards for payments                      party access in ACH systems.
several revisions to its Policy on                and securities settlement systems. Over                  The final policy retains all substantive
Payments System Risk (PSR policy).                the course of several years, the Federal               aspects of the proposed policy. The final
Specifically, the Board revised its               Reserve has worked with other central                  policy, however, includes several minor
expectations for risk management in               banks and securities regulators to                     changes that address specific comments.
payments and securities settlement                develop standards to strengthen                        The final policy also includes other
systems as previously set out in part II          payments and securities settlement                     editorial and technical corrections,
of the PSR policy, Policies for Private-          infrastructures. These efforts initially               including several changes to make the
Sector Systems, and expanded the scope            produced the Lamfalussy Minimum                        new introduction consistent with recent
of this part to cover Federal Reserve             Standards, which were incorporated                     revisions to the Federal Reserve
payments and securities settlement                into the Board's PSR policy in 1994.2                  Daylight Credit Policies, as published
systems. The Board also reorganized the           More recently, this work resulted in the               on September 28, 2004 (69 FR 57917).
policy such that the more general Risk            publication of the Core Principles and                 Finally, in an action not proposed in
Management in Payments and Securities             the Recommendations. The Core                          April, the Board also deleted part III of
Settlement Systems now constitutes part           Principles extend and replace the                      the policy.
Iof the policy, while Federal Reserve             Lamfalussy Minimum Standards, while
                                                                                                         Policy Threshold
Daylight Credit Policies constitute part          the Recommendations provide, for the
                                                  first time, explicit standards for                        Five of the eight commenters offered
II. Finally, the Board has deleted part III
                                                  securities settlement systems. 3                       specific comments on the $5 billion
of the policy, entitled "Other Policies."
                                                     In addition to establishing specific                policy threshold. Three commenters
DATES: Revisions described in this
                                                  standards, however, the Core Principles                suggested that the threshold be modified
notice will take effect on January 2,                                                                    to be more inclusive by lowering the
                                                  and Recommendations call for central
2005.                                                                                                    threshold or by suggesting additional
                                                  banks to state clearly their roles and
FOR FURTHER INFORMATION CONTACT: Jeff             policies regarding payments and                        quantitative or qualitative criteria. One
Stehm, Assistant Director (202) 452-              securities settlement systems, assess                  commenter stated that the $5 billion
2217, or Doug Conover, Senior Analyst             compliance with the Core Principles                    threshold would leave out certain
(202) 452-2887, Division of Reserve               and the Recommendations when                           unnamed systems that should be
Bank Operations and Payment Systems;              overseeing relevant systems, and                       covered by the policy for reasons of both
for the hearing impaired only:                    coordinate with other authorities in                   systemic risk and competitive equity.
Telecommunications Device for the                 overseeing systems. Moreover, the Core                 Several commenters specifically
Deaf, (202) 263-4869.                             Principles and Recommendations are                     supported the threshold, pointing out
SUPPLEMENTARY INFORMATION                         intended to apply to systems operated                  the current approach would "result in a
                                                  by central banks as well as the private                level playing field" and "ensure a
I. Background                                                                                            consistent regulatory approach."
                                                  sector. The policy revisions proposed by
  On April 26, 2004, the Board                    the Board in April were designed to                       In contrast, one commenter suggested
requested comment on proposed                     meet these and other expectations.                     that the threshold be modified to be less
changes to part II of its Policy Statement                                                               inclusive, specifically by raising the
                                                  II. Summary of Comments and Analysis                   threshold to $10 billion. This
on Payments System Risk addressing
risk management in payments and                     The Board received eight comments                    commenter cited the original intent of
securities settlement systems (69 FR              on the proposed policy—three from                      the $5 billion threshold as described in
22512). Key aspects of the proposal               private-sector payment system                          January 1999 as exempting from the
included an expansion of the policy's             operators, two from industry                           policy smaller systems that are not
scope to include the Federal Reserve              associations, two from commercial                      likely to "pose systemic risks or other
Banks' (Reserve Banks) payments and               banks, and one from the Federal Reserve                significant risk concerns."" The
securities settlement services, revised           Bank of Richmond. Comments generally                   commenter argued that the $5 billion
general risk management expectations                                                                     threshold was appropriate in 1999, but
for all systems subject to the policy, and        Organization of Securities Commissions (IOSCO).        due to economic growth, the level is no
                                                  The full reports on the Core Principles and the        longer appropriate, as some systems
the incorporation of the Core Principles
                                                  Recommendations are available at http://
for Systemically Important Payment                                                                       with gross settlement near $5 billion per
                                                  www.bis.org.
Systems (Core Principles) and                       2 59 FR 67534, Dec. 29, 1994. The Lamfalussy
                                                                                                         day still pose no systemic risk concerns.
Recommendations for Securities                    Minimum Standards were set Out IO the "Report of       This commenter and one other
Settlement Systems (Recommendations)              the Committee on Interbank Netting Schemes of the      suggested that the threshold be
                                                  Central Banks of the Group of Ten Countries,"
as the Board's minimum standards for                                                                      increased periodically.
                                                  published by the Bank for International Settlements
systemically important systems.' The                                                                        The Board agrees with the opinions of
                                                  in November 1990.
                                                      Both sets of standards are part of the Financial   several commenters who pointed out
  I The Core Principles were developed by the     Stability Forum's Compendium of Standards that         the value of asimple policy threshold
committee on Payment and Settlement Systems       have been widely recognized and endorsed by U.S.        in ensuring aconsistent approach and
(cpss) of the central banks of the Group of Ten   authorities as integral to strengthening global
                                                                                                          transparent application of the policy. In
countries, and the Recommendations were           financial stability. Both sets of standards were
developed by the CPSS in conjunction with the     published by the relevant committees for public
Technical Committee of the International          comment before being adopted in their final form.         63 FR 34888, June 26, 1998.




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                                                                                                                                   EXHIBIT


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fact, the $5 billion gross settlement       below the $5 billion threshold for           policy states that the Board will
threshold was adopted in response to        applying the policy, though not subject      separately inform each system subject to
industry comments in 1998 that largely      to the policy, are nonetheless               the policy as to whether they are or are
opposed the use of more complex             encouraged to implement asound risk-         not considered systemically important.
formulas in favor of asimple, numerical     management framework.                        This revision retains necessary
threshold. With regard to the absolute                                                   flexibility in the criteria for systemic
                                             Criteria for Systemic Importance
level of the threshold, the Board                                                        importance, but provides clarity for
continues to believe that the $5 billion        Four of the eight commenters             each system subject to the policy as to
level appropriately eliminates any           suggested modifications to the criteria     whether the Board expects them to meet
administrative burden of complying           for determining "systemically               the standards for systemically important
with the policy for those systems that       important" systems that were set out in     systems.
are unlikely to pose significant risk        the proposed policy for assessing
concerns. The Board sees no reason to        whether the Core Principles or               Third-Party Access
modify the existing threshold at this        Recommendations would be applicable           Three commenters focused their
time.                                        to apayments or securities settlement       comments on the risks regarding "third-
                                             system. Two commenters suggested that       party access" to ACH systems. Two of
Definition of a System
                                             the criteria needed more clarity so that    these organizations offered specific
  Of the four commenters that                systems and their participants can know     suggestions on how to address third-
specifically addressed the definition of     whether aparticular-system would be         party risks inihe..ACH.. Both suggested
"system" as set out in proposed policy,      considered systemically important.          that the policy include arequirement
three agreed that the definition was         These same commenters also suggested        that all third-party arrangements be
"reasonable and appropriate,"                that the policy include some indicators      subject to the approval of the sponsoring
especially the exemption for bilateral       that suggest when asystem is not             institution's board of directors or other
relationships, such as in traditional        systemically important. One commenter        senior management body. One of the
correspondent banking. One                   suggested the inclusion of aseventh          two suggested that ACH operators
commenter, however, suggested that the       criterion, whether "a failure of the         provide tools for institutions to manage
Board clarify the relationship between       system would cause significant or            these risks, and controls that should, at
the "general definition" of asystem and      extended loss of investor or consumer        aminimum, include gross debit limits.
the three characteristics typically          confidence." A fourth commenter             The third commenter did not make
"embodied" by such systems. The final       suggested that the policy clarify whether     these specific suggestions and instead
policy explains how the Board may use       asystem would be considered                   suggested that the Board request
these characteristics in determining        systemically important if it met only         comment on a "specific proposal" to
whether aparticular arrangement meets       one of the six criteria.                     address these risks.
the policy's definition of asystem.            The Board decided to retain the six          The Federal Reserve is interested in
                                            proposed criteria for systemic               risks related to third-party access in
General Policy Expectations
                                            importance. These criteria are based         ACH networks, and through the Federal
   All eight commenters expressed           upon the description of "systemically        Reserve Banks' role as an ACH operator,
support for the general risk management     important systems" provided in the           is taking steps to address these risks. For
expectations set out in part B of the       Core Principles, adjusted to be              example, the Federal Reserve Bank
proposed policy. Several offered strong     applicable to securities settlement          presidents recently circulated aletter to
support for these revisions. Two            systems and to provide consistency with      depository institutions outlining the
commenters raised questions about           the criteria previously set out in the       risks and possible risk mitigation
whether risks related to third-party        policy for applying the Lamfalussy           techniques related to ACH debit
access to payment systems, especially       Standards. Regarding the suggestion that     originations, including third-party
ACH systems, would fall under the           the policy include alist of exclusions or    originators. The Federal Reserve Banks
general risk-management expectations        characteristics of systems that are not      also have offered to work with ACH
 (these comments are discussed below).      systemically important, the Board            participants and the ACH rule-making
   One commenter sought additional          believed that this type of change could      body to discuss these risks. The Federal
clarity on how systems should assess        introduce unnecessary conflicts with         Reserve Banks are also examining
their dependencies and inter-               the existing criteria. On whether to add     possible enhancements to FedACH that
relationships with other payment and        aseventh explicit criterion regarding        could strengthen depository
securities settlement systems. This same    investor or consumer confidence, the         institutions' controls over ACH activity
commenter suggested that, where             Board believes that these changes would      settling through their accounts.
appropriate, oversight efforts associated   unnecessarily broaden the definition of         In recent years, however, the Board
with the revised policy be conducted        systemically important in apotentially       specifically moved away from
through existing bank supervisory           ambiguous manner, and with possible          addressing outsourcing and third-party
programs, citing aminimization in           unintended consequences. For example,        access risks in the context of the PSR
regulatory burden. The final policy         such acriterion may suggest that many        policy. In August 1995, the Board
elaborates on the Board's expectation       retail systems, such as debit card, credit   sought comment on the benefits and
that asystem understand the risks posed     card, and ACH systems, be considered         costs of adopting third-party access
by its various relationships with other     systemically important regardless of any     provisions for ACH credit transfers in
systems, and clarifies the Board's intent   limited potential to spread credit and       the PSR policy. 5 The Board's analysis of
to minimize unnecessary burden on           liquidity shocks through the financial       this issue, however, indicated that the
systems subject to the policy, including    system.                                      costs, complexity, and operational effect
coordinating, where possible, any              To address commenters' concerns           of potential changes outweighed the risk
assessments of compliance with the          about transparency regarding whether         reduction benefits. An ACH third-party
policy with other supervisory attentions    the Board considers aparticular system       access policy was never adopted.
to asystem. The final policy also           to be systemically important for
clarifies that systems currently falling    purposes of the PSR policy, the final          60 FR 42413, Aug. 15. 1995.
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Moreover, in April 2001, the Board                      the compliance burden largely falls on                  C. Net Debit Caps
                                                        system operators and not on individual                  1. Definition
rescinded the third-party Fedwire
                                                                                                                2. Cap Categories
access section of the PSR policy,                       participants.
                                                                                                                a. Self-Assessed
adopted in 1987, stating that such                                                                              b. De minimis
                                                        V. Competitive Impact Analysis
access, when properly managed by                                                                                c. Exempt-From-Filing
depository institutions, poses little                      The Board has established procedures                 d. Zero
additional risk to the Federal Reserve                  for assessing the competitive impact of                 3. Capital measure
and does not warrant the administrative                 rule or policy changes that have a                      a. U.S-Chartered Institutions
burden imposed by the third-party                       substantial impact on payments system                   b. U.S. Branches and Agencies of Foreign
                                                        participants. 8 Under these procedures,                     Banks
access policy. 6 The Board also stated
                                                        the Board will assess whether achange                   D. Collateralized Capacity
that as part of the ongoing supervisory                                                                         E. Special Situations
process, banking organizations are                      would have adirect and material
                                                                                                                 1. Edge and Agreement Corporations
expected to address and manage risks                    adverse effect on the ability of other
                                                                                                                2. Bankers' Banks
that may arise out of third-party                       service providers to compete effectively                3. Limited-Purpose Trust Companies
arrangements. 7                                         with the Federal Reserve in providing                   4. Government-Sponsored Enterprises and
                                                        similar services due to differing legal                     International Organizations
Deletion of Part III                                    powers or constraints, or due to a                      5. Problem Institutions
   Given the changes to the policy that                 dominant market position of the Federal                 F. Monitoring
the Board is adopting in this notice and                Reserve deriving from such differences.                  1. Ex Post
                                                        If no reasonable modifications would                    2. Real Time
the changes adopted in recent revisions
                                                                                                                3. Multi-District Institutions
to the policy concerning Federal                        mitigate the adverse competitive effects,
                                                                                                                G. Transfer-Size Limit on Book-Entry
Reserve Daylight Credit Policies, the                   the Board will determine whether the                        Securities
Board has decided to delete part III of                 anticipated benefits are significant
the PSR policy, entitled Other Policies.                enough to proceed with the change                      Introduction
Part III encourages, but does not require,              despite the adverse effects. The PSR
                                                                                                                 Payments and securities settlement
depository institutions to use rollovers                policy provides that Reserve Bank
                                                                                                               systems are critical components of the
and continuing contracts in federal                     payments and securities settlement
                                                                                                               nations financial system. The smooth
funds and Eurodollars to minimize their                 systems will be treated similarly to
                                                                                                               functioning of these systems is vital to
use of daylight credit in their Federal                 private-sector systems and thus should
                                                                                                               the financial stability of the U.S.
Reserve accounts. The Board adopted                     have no material adverse effect on the
                                                                                                               economy. Given the importance of these
this aspect of the policy in 1989 as                    ability of other service providers to
                                                                                                               systems, the Board has developed this
guidance for depository institutions.                   compete effectively with the Federal
                                                                                                               policy to address the risks that
Given the incentives to manage daylight                 Reserve Banks in providing payments
                                                                                                               payments and securities settlement
credit provided by the implementation                   and securities settlement services.
                                                                                                               systems present to the financial system
of daylight overdraft fees in 1994, the
                                                        VI. Paperwork Reduction Act                            and to the Federal Reserve Banks
Board believes that depository
                                                          In accordance with the Paperwork                     (Reserve Banks).
institutions have the appropriate
                                                        Reduction Act of 1995 (44 U.S.C. ch.                     In adopting this policy, the Board's
incentives to incorporate the practices                                                                        objectives are to foster the safety and
encouraged in part III into their daylight              3506; 5CFR part 1320 Appendix Al),
                                                        the Board has reviewed the policy under                efficiency of payments and securities
credit management procedures, and that
                                                        the authority delegated to the Board by                settlement systems. These policy
specific guidance in this area is no
                                                        the Office of Management and Budget.                   objectives are consistent with (1) the
longer necessary.                                                                                              Boards long-standing objectives to
                                                        No collections of information pursuant
IV. Regulatory Flexibility Act Analysis                                                                        promote the integrity, efficiency, and
                                                        to the Paperwork Reduction Act are
                                                        contained in the revisions to the PSR                  accessibility of the payments
   The Board has determined that these
                                                                                                               mechanism; (2) industry and
revisions to the PSR policy would not                   policy.
                                                                                                               supervisory methods for risk
have asignificant economic impact on
                                                        VII. Federal Reserve Policy on                         management; and (3) internationally
asubstantial number of small entities.                  Payments System Risk                                   accepted risk management standards
The policy requires payments and
                                                          The PSR policy is revised, effective                 and practices for systemically important
securities settlement systems to address
                                                        January 2, 2005, to read as follows:                   payments and securities settlement
material risks in their systems. The
                                                                                                               systems.'
policy applies to relatively large                      Introduction
                                                                                                                 Part Iof this policy sets out the key
systems, i.e., those that expect to settle              Risks in Payments and Securities Settlement
                                                               Systems                                         risk management expectations of the
an aggregate gross value exceeding $5
                                                        I. Risk Management in Payments and                     Board that public- and private-sector
billion on any day during the next
                                                               Securities Settlement Systems                   payments and securities settlement
twelve-month period. Thus, the policy
                                                           A. Scope                                            systems should meet in the design and
is designed to minimize regulatory                         B. General Policy Expectations                      operation of those systems. Under the
burden on smaller systems that do not                      C. Systemically Important Systems                   policy, all payments and securities
raise material risks. Although small                        1. Standards for Systemically Important
                                                                                                               settlement systems that expect to settle
financial institutions may participate in                      Payments Systems
                                                           2. Standards for Systemically Important             an aggregate gross value exceeding $5
payments or securities settlement
                                                               Securities Settlement Systems                   billion on any day during the next
systems that are subject to the policy,
                                                        II. Federal Reserve Daylight Credit Policies           twelve months are expected to
                                                           A. Daylight Overdraft Definition and                implement arisk management
  6 66   FR 19165, April 13, 2001.
                                                               Measurement
   7 Federal Rkserve and other FFIEC supervisors
                                                           B. Pricing                                            1 For the Board's long-standing objectives in the
have issued guidance concerning third-party access
risk, and continue to work to identify specific types                                                          payments system. see "The Federal Reserve in the
of ACH flows and businesses that may pose special         8 These   procedures are described in "The Federal   Payments System." September 2001, FRRS 9-1550,
risks to depository institutions. See SR Dr. 01-16      Reserve in the Payments System," as revised in         available at http://www.federalresers'e.gov/
Quly 3, 2001). SR Ltr. 00-4 (February 29, 2000).        March 1990 (55 FR 11648, March 29, 1990).              paymentsystems/pricing/frpaysys.htnt.
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 framework that is appropriate for the                       Liquidity Risk. The risk that a                       extinguished as planned. In addition,
 risks they pose to the system operator,                  counterparty will not settle an                          measures taken by Reserve Banks to
 system participants, and the financial                   obligation for full value when due.                      limit their intraday credit exposures
 system more broadly. Systemically                           Operational Risk. The risk of loss                    may shift some or all of the associated
 important payments and securities                        resulting from inadequate or failed                      risks to private-sector systems.
 settlement systems are also expected to                  internal processes, people, and systems,                    The smooth functioning of payments
 meet more specific standards based                       or from external events. This type of risk               and securities settlement systems is also
 upon the Core Principles for                             includes various physical and                            critical to certain public policy
 Systemically Important Payments                          information security risks.                              objectives in the areas of monetary
 Systems (Core Principles) and the                          Legal Risk. The risk of loss because of                policy and banking supervision. The
 Recommendations for Securities                           the unexpected application of alaw or                    effective implementation of monetary
Settlement Systems                                        regulation or because acontract cannot                   policy, for example, depends on both
 (Recommendations), respectively. 2                       be enforced.                                             the orderly settlement of open market
   Part II of this policy governs the                       These risks arise between financial                    operations and the efficient distribution
provision of intraday or "daylight"                       institutions as they settle payments and                of reserve balances throughout the
credit in accounts at the Reserve Banks                   securities transactions and must be                     banking system via the money market
and sets out the general methods used                     managed by institutions, both                           and payments system. Likewise,
by the Reserve Banks to control their                     individually and collectively.5 6                       supervisory objectives regarding the
intraday credit exposures .  -Under this                  Multilateral payments and securities                    safety and soundness of-depository-
part, the Board expects institutions to                   settlement systems, in particular, may
                                                                                                                  institutions must take into account the
manage their Federal Reserve accounts                     increase, shift, concentrate, or otherwise              risks payments and securities settlement
effectively and use Federal Reserve                       transform risks in unanticipated ways.                  systems pose to depository institutions
daylight credit efficiently and                          These systems also may pose systemic
                                                                                                                  that participate directly or indirectly in,
appropriately, in accordance with this                    risk to the financial system where the                  or provide settlement, custody, or credit
policy. 3 Although some intraday credit                   inability of asystem participant to meet                services to, such systems.
may be necessary, the Board expects                       its obligations when due may cause                         Through this policy, the Board
that, as aresult of this policy, relatively               other participants to be unable to meet                 expects financial system participants,
few institutions will consistently rely on               their obligations when due. The failure                  including the Reserve Banks, to manage
significant amounts of intraday credit                   of one or more participants to settle                    appropriately the settlement and
supplied by the Federal Reserve to                       their payments or securities                             systemic risks arising in payments and
conduct their business. The Board will                   transactions, in turn, could create credit               securities settlement systems, consistent
continue to monitor the effects of its                   or liquidity problems for other                          with the smooth operation of the
daylight credit policies on the payments                 participants, the system operator, or                    financial system. This policy is
system.                                                  other financial institutions. Systemic                   designed to fulfill that aim by (1)
                                                         risk might lead ultimately to a                          informing all financial system
Risks in Payments and Securities
                                                         disruption in the financial system more                  participants and system operators of the
Settlement Systems
                                                         broadly or undermine public confidence                   basic risks that arise in the settlement
   The basic risks in payments and                       in the nation's financial infrastructure.                process, and encouraging the
securities settlement systems are credit                    These risks stem, in part, from the                   management of these risks (2) describing
risk, liquidity risk, operational risk, and              multilateral and time-sensitive credit                   the Board's general expectations for risk
legal risk. In the context of this policy,               and liquidity interdependencies among                    management in payment and securities
these risks are defined as follows. 4                    financial institutions. These                            settlement systems subject to this
   Credit Risk. The risk that a                          interdependencies often create complex                   policy, (3) providing explicit risk
counterparty will not settle an                          transaction flows that, in combination                   management standards for systemically
obligation for full value either when                    with asystem's design, can lead to                       important systems, and (4) establishing
due, or anytime thereafter.                              significant demands for intraday credit,                 the policy conditions governing the
                                                         either on aregular or extraordinary                      provision of Federal Reserve intraday
   2The Core Principles were developed by the
                                                         basis. Some level of intraday credit is
Committee on Payment and Settlement Systems of                                                                    credit to account holders. The Board's
                                                         appropriate to ensure the smooth
the central banks of the Group of Ten countries                                                                   adoption of this policy in no way
(CPSS) and the Recommendations were developed            functioning of payments and securities                   diminishes the primary responsibilities
by the CPSS in conjunction with the Technical            settlement systems. To the extent that                   of financial system participants
Committee of the International Organization of           financial institutions or the Reserve
Securities Commissions (IOSCO). The full reports
                                                                                                                  generally and settlement system
                                                         Banks are the direct or indirect source                  operators, participants, and Federal
on the Core Principles and the Recommendations
are available at http://www.bis.org.                     of such intraday credit, they may face a                 Reserve accountholders more
  I part If of this policy, the term "institution"
  3                                                      direct risk of loss if daylight credit is not            specifically, to address the risks that
will be used to refer to institutions defined as
                                                                                                                  may arise through their operation of, or
"depositoiy institutions" in 12 U.S.C. 461 (b)(l) (A),      5 The term "financial institution," as generally
U.S. branches and agencies of foreign banking            used in part Iof this policy, includes organizations,
                                                                                                                  participation in, payments and
organizations, Edge and agreement corporations,          such as depository institutions, securities dealers,     securities settlement systems.
and bankers' banks, limited purpose trust                and other institutions, that act as intermediaries in
companies, government-sponsored enterprises, and         financial markets and engage in financial activities     I. Risk Management in Payments and
international organizations, unless the context          for themselves and their customers.                      Securities Settlement Systems
indicates adifferent reading.                              6 S evera l existing regulatory and bank supervision
   4 These definitions of credit risk, liquidity risk,
                                                                                                                    This part sets out the Board's
                                                         guidelines and policies also are directed at
and legal risk are based upon those presented in the     institutions' management of the risks posed by           expectations regarding the management
Core Principles and the Recommendations. The             interbank payments and settlement activity. For          of risk in payments and securities
definition of operational risk is based on the Basel     example. Federal Reserve Regulation F (12 CFR part       settlement systems, including those
Committee on Banking Supervision's "Sound                206) directs insured depository institutions to
Practices for the Management and Supervision of
                                                                                                                  operated by the Reserve Banks, The
                                                         establish policies and procedures to avoid excessive
Operational Risk." See these publications at             exposures to any other depository institutions,          Board will be guided by this part, in
hrrp://www.bis.org for afuller discussion of these       including exposures that may be generated through        conjunction with relevant laws and
risks.                                                   the clearing and settlement of payments,                 other Federal Reserve policies, when (1)
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supervising state member banks, bank                   the next 12 months. 9 For purposes of                    arrangements, including, for example,
holding companies, and clearinghouse                   this policy, apayments or securities                     government securities clearing services
arrangements, including the exercise of                settlement system is considered to be a                  provided to securities dealers by banks
authority under the Bank Service                       multilateral arrangement (three or more                  or correspondent clearing services
Company Act, where applicable, 7 (2)                   participants) among financial                            provided by broker-dealers. The Board
setting the terms and conditions for the               institutions for the purposes of clearing,               believes that these relationships do not
use of Federal Reserve payments and                    netting, and/or settling payments or                     constitute "a system" for purposes of
settlement services by system operators                securities transactions among                            this policy and that relevant safety and
and participants, (3) developing and                   themselves or between each of them and                   soundness issues associated with these
applying policies for the provision of                 acentral party, such as asystem                          relationships are more appropriately
intraday credit to Reserve Bank account                operator or central counterparty.t° In                   addressed through the supervisory and
holders, and (4) interacting with other                determining whether aparticular                          regulatory process. This policy also does
domestic and foreign financial system                  arrangement meets this definition, the                   not apply to clearance or settlement
authorities on payments and settlement                 Board may consider, but will not be                      systems for exchange-traded futures and
risk management issues. The Board's                    limited to, whether the arrangement                      options that fall under the oversight of
adoption of this policy is not intended                exhibits one or more of the following                    the Commodities and Futures Trading
to exert or create new supervisory or                  characteristics: (1) A set of rules and                  Commission or the Securities and
regulatory authority over any particular               procedures, common to all participants,                  Exchange Commission,
class of institutions or arrangements                  that govern the clearing or settlement of
                                                                                                                B. General Policy Expectations
where the Board does not currently have                payments or securities transactions, (2)
such authority.                                        acommon technical infrastructure for                       The Board expects payments and
                                                       conducting the clearing or settlement                    securities settlement systems within the
  Where the Board does not have direct
                                                       process, and (3) arisk management or                     scope of this policy to implement arisk
or exclusive supervisory or regulatory
                                                       capital structure where at least some                    management framework appropriate for
authority over systems covered by this
                                                       losses would be borne by participants                    the risks the system poses to the system
policy, it will work with other domestic
                                                       rather than the arrangement's operator,                  operator, system participants, and other
and foreign financial system authorities
                                                       central counterparty or guarantor, or                    relevant parties as well as the financial
to promote effective risk management in
                                                       shareholders or owners.                                  system more broadly. A risk
payments and securities settlement
                                                          These systems may be organized,                       management framework is the set of
systems. The Board encourages other                    located, or operated within the United                   objectives, policies, arrangements,
relevant authorities to consider the
                                                       States (domestic systems), outside the                   procedures, and resources that asystem
principles embodied in this policy                     United States (offshore systems), or both                employs to limit and manage risk. While
when evaluating the payments and                       (cross-border systems) and may involve                   there are anumber of ways to structure
securities settlement risks posed by and               other currencies in addition to the U.S.                 asound risk management framework, all
to the systems and individual system                   dollar (multicurrency systems). The                      frameworks should:
participants that they oversee,                        policy also applies to any system based                     • Clearly identify risks and set sound
supervise, or regulate. In working with                or operated in the United States that
                                                                                                                risk management objectives;
foreign financial system authorities, the              engages in the settlement of non-U.S.
                                                                                                                   • Establish sound governance
Board will be guided by Responsibility                 dollar transactions if that system would
                                                                                                                arrangements;
0 of the Core Principles,                              be otherwise subject to the policy.' 1
                                                                                                                   • Establish clear and appropriate
Recommendation 18 of the                                  This policy does not apply to bilateral
Recommendations, and the "Principles                                                                            rules and procedures; and,
                                                       relationships between financial
for Cooperative Central Bank Oversight                                                                             • Employ the resources necessary to
                                                       institutions and their customers, such as
of Cross-border and Multi-currency                                                                              achieve the system's risk management
                                                       traditional correspondent banking and
Netting and Settlement Schemes" and                                                                             objectives and implement effectively its
                                                       correspondent securities clearing
related documents. 8 The Board believes                                                                         rules and procedures.
these international principles provide                   9 The 'next twelve-month period is determined
                                                                                                                  The Board also expects any system it
an appropriate framework for                           by reference to the date adetermination is being         deems to be systemically important both
cooperating with foreign authorities to                made as to whether the policy applies to a               to establish asound risk management
                                                       particular system. Aggregate gross value of U.S          framework and to comply with the more
address risks in cross-border,                         dollar-denominated transactions refers to the total
multicurrency, and, where appropriate,                                                                          detailed standards set out in Section I. C.
                                                       dollar value of individual U.S. dollar transactions
offshore payments and securities                       settled in the system which also represents the sum      The Board will seek to understand how
settlement systems.                                    of total U.S. dollar debits (or credits) to all          and whether systems subject to this
                                                       participants prior to or in absence of any netting of
                                                                                                                policy achieve asound risk management
A. Scope                                               transactions.
                                                                                                                framework and, if relevant, meet the
                                                          °A system includes all of the governance,
                                                       management, legal and operational arrangements
                                                                                                                detailed standards for systemically
  This policy applies to public- and
                                                       used to effect settlement as well as the relevant        important systems. In addition, the
private-sector payments and securities
                                                       parties to such arrangements, such as the system         Board encourages systems with
settlement systems that expect to settle               operator, system participants, and system owners.
                                                                                                                settlement activity below the $5 billion
adaily aggregate gross value of U.S.                   The types of systems that may fall within the scope
                                                       of this policy include, but are not limited to, large-   threshold, though not subject to this
dollar-denominated transactions
                                                       value funds transfer systems, automated                  policy, to consider implementing some
exceeding $5 billion on any day during
                                                       clearinghouse (ACH) systems, check                       or all of the elements of asound risk
                                                       clearinghouses, and credit and debit card settlement
                                                                                                                 management framework. 12
    12 U.S.C. 1861 etseq.                              systems, as well as central counterparties, clearing
  °The 'Principles for cooperative central Bank        corporations, and central depositories for securities
Oversight and Multi-currency Netting and               transactions. For purposes of this policy, the system      12 The Board may ask asystem approaching the
Settlement Schemes".are set out in the "Report of      operator is the entity that manages and oversees the     policy threshold to provide limited information on
the Committee on Interbank Netting Schemes of the      operations of the system. For the definition of          trends in its gross settlement activity to determine
central banks of the Group of Ten countries"           financial institution, see footnote 5.                   when that system might become subject to the
(Lamfalussy Report). The Lamfalussy Report is            11 The daily gross value threshold will be             policy. Systems approaching the threshold should
                  Ilv,-ww.bis.orglcpsslcpsspubl.htm.
available at http.,                                    calculated on aU.S. dollar equivalent basis.             anticipate meeting the expectations of this policy.
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   Identify Risks and Set Sound Risk                        System operators should re-evaluate                    Employ Necessary Resources. Systems
Management Objectives. The first                         their risks in conjunction with any                    should ensure that the appropriate
element of asound risk management                        major changes in the settlement process                resources and processes are in place to
framework is the clear identification of                 or operations, the instruments or                      allow them to achieve their risk
all risks that have the potential to arise               transactions settled, asystem's rules or               management objectives and effectively
in or result from the system's settlement                procedures, or the relevant legal and                  implement their rules and procedures.
process and the development of clear                     market environments. Systems should                    In particular, the system operator's staff
and transparent objectives regarding the                 review their risk management objectives                should have the appropriate skills,
system's tolerance for and management                    regularly to ensure that they are                      information, and tools to apply the
of such risks.                                           appropriate for the risks posed by the                 system's rules and procedures and
   System operators should identify the                  system, continue to be aligned with the                achieve the system's risk management
forms of risk present in their system's                  system's purposes, remain consistent                   objectives. System operators should also
settlement process as well as the parties                with this policy, and are being                        ensure that their facilities and
posing and bearing each risk. In                         effectively adhered to by the system                   contingency arrangements, including
particular, system operators should                      operator and participants.
                                                                                                                any information system resources, are
identify the risks posed to and borne by                    Sound Governance Arrangements.
                                                                                                                sufficient to meet their risk management
themselves, the system participants, and                 Systems should have sound governance
                                                                                                                objectives. 16
other key parties such as asystem's                      arrangements to implement and oversee
                                                         their risk management frameworks.The                      The Board recognizes that payments
settlement banks, custody banks, and
                                                         responsibility for sound governance                    and securities settlement systems differ
third-party service providers. System
                                                         rests with asystem operator's board of                 widely in terms of form, function, scale,
operators should also analyze whether
                                                         directors or similar body and with the                 and scope of activities and that these
risks might be imposed on other
                                                         system operator's senior management.                   characteristics result in differing
external parties and the financial system
                                                         Governance Structures and processes                    combinations and levels of risks. Thus,
more broadly.
                                                         should be transparent; enable the                      the exact features of asystem's risk
  In addition, system operators should
                                                         establishment of clear risk management                 management framework should be
analyze how risk is transformed or
                                                         objectives; set and enforce clear lines of             tailored to the risks of that system. The
concentrated by the settlement process.
                                                         responsibility and accountability for                  Board also recognizes that the specific
System operators should also consider
                                                         achieving these objectives; ensure that                features of arisk management
the possibility that attempts to limit one
                                                         there is appropriate oversight of the risk             framework may entail trade-offs
type of risk could lead to an increase in
                                                         management process; and enable the                     between efficiency and risk reduction
another type of risk. Moreover, system
                                                         effective use of information reported by               and that payments and securities
operators should be aware of risks that
                                                         the system operator's management,                      settlement systems will need to consider
might be unique to certain instruments,
                                                         internal auditors, and external auditors               these trade-offs when designing
participants, or market practices.
                                                         to monitor the performance of the risk                 appropriate rules and procedures. In
System operators should also analyze
                                                         management process.' 4 Individuals                     considering such trade-offs, however, it
how risks are correlated among
                                                         responsible for governance should be                   is critically important that systems take
instruments or participants. 13
                                                         qualified for their positions, understand              into account the costs and risks that
   Based upon its clear identification of                their responsibilities, and understand                 may be imposed on all relevant parties,
risks, asystem should establish its risk                 their system's risk management                         including parties with no direct role in
tolerance, including the levels of risk                  framework. Governance arrangements                     the system.
exposure that are acceptable to the                      should also ensure that risk
system operator, system participants,                                                                              To determine whether asystem's
                                                         management information is shared in
and other relevant parties. The system                                                                          current or proposed risk management
                                                         forms, and at times, that allow
operator should then set risk                                                                                   framework is consistent with this
                                                         individuals responsible for governance
management objectives that clearly                                                                              policy, the Board will seek to
                                                         to fulfill their duties effectively.
allocate acceptable risks among the                         Clear and Appropriate Rules and                     understand how asystem achieves the
relevant parties and set out strategies to               Procedures. Systems should implement                   four elements of asound risk
manage this risk. Risk management                        rules and procedures that are                          management framework set out above.
objectives should be consistent with the                 appropriate and sufficient to carry out                In this context, it may be necessary for
objectives of this policy, the system's                  the system's risk management objectives                the Board to obtain information from
business purposes, and the type of                       and that have awell-founded legal                      system operators regarding their risk
instruments and markets for which the                    basis. Such rules and procedures should                management framework, risk
system clears and settles. Risk                          specify the respective responsibilities of             management objectives, rules and
management objectives should also be                     the system operator, system                            procedures, significant legal analyses,
communicated to and understood by                        participants, and other relevant parties.              general risk analyses, analyses of the
both the system operator's staff and                     Rules and procedures should establish                  credit and liquidity effects of settlement
system participants.                                     the key features of asystem's settlement               disruptions, business continuity plans,
                                                         and risk management design and specify                 crisis management procedures, and
   'Where systems have inter-relationships with or       clear and transparent crisis management
dependencies on other systems, system operators          procedures and settlement failure                      and operational health, limits on settlement
should also analyze whether and to what extent any                                                              exposures, and the procedures and resources to
                                                         procedures, if applicable. 15
cross-system risks arise and who bears them.                                                                    hedge, margin, or cottateralize settlement
Examples of such dependencies include, but are not                                                              exposures. Other examples of key features might be
limited to, financial and legal relationships, such as     14 The internal audit function should be             business continuity requirements and loss
cross-margining, cross-collateralization, or cross-      independent of those responsible for day-to-day        allocation procedures.
guarantees, operational relationships, such as           operational and other business functions.                16 Such arrangements may also be subject to
shared platforms or networks, inter-system links to        15 Examples of key features that might be            various supervisory guidelines, such as the
move transactions between systems, and tiered            specified in asystem's rules and procedures are        "Interagency Paper on Sound Practices to
settlement dependencies (e.g. reliance on asecond        controls to limit participant-based risks, such as     Strengthen the Resilience of the U.S. Financial
system to settle net obligations).                       membership criteria based on participants' financial   System." (68 FR 17809, April 11, 2003)
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other relevant documentation. 17 It may                   management standards because of their                   1, Standards for Systemically Important
also be necessary for the Board to obtain                 potential to cause major disruptions in                 Payments Systems
data or statistics on system activity on                  the financial system. The Board,                           1. The system should have awell-
an ad-hoc or ongoing basis. All                           therefore, expects systemically                         founded legal basis under all relevant
information provided to the Federal                       important payments systems to comply                    jurisdictions.
Reserve for the purposes of this policy                   with the standards listed in section                       2. The system's rules and procedures
will be handled in accordance with all                    I.C. 1. Securities settlement systems of                should enable participants to have a
applicable Federal Reserve policies on                    systemic importance are expected to                     clear understanding of the system's
information security, confidentiality,                    comply with the standards listed in                     impact on each of the financial risks
and conflicts of interest. In seeking to                  section I.C.2. Some systemically                        they incur through participation in it.
obtain information and in determining                     important systems, however, may                            3. The system should have clearly
whether asystem's risk management                         present an especially high degree of                    defined procedures for the management
framework is consistent with this                         systemic risk, by virtue of their high                  of credit risks and liquidity risks, which
policy, the Board intends to minimize                     volume of large-value transactions or                   specify the respective responsibilities of
unnecessary burden on systems, and                        central role in the operation of critical               the system operator and the participants
will coordinate its activities, if                        financial markets. Because all systems                  and which provide appropriate
practicable, with supervisory attentions                  are expected to employ arisk                            incentives to manage and contain those
to the system.                                            management framework that is                            risks.
                                                          appropriate for their risks, the Board                      4. The system should provide prompt
C. Systemically Important Systems
                                                          may expect these systems to exceed the                  final settlement on the day of value,
  In addition to establishing arisk                       standards set out below,                                preferably during the day and at a
management framework that includes                                                                                minimum at the end of the day.
                                                            The Board acknowledges that
the key elements described above, the                                                                                 5. A system in which multilateral
                                                          payments and securities settlement
Board expects systemically important                                                                              netting takes place should, at a
                                                          systems vary in terms of the range of
payments and securities settlement                                                                                minimum, be capable of ensuring the
                                                          instruments they settle and markets they
systems to comply with the detailed                                                                               timely completion of daily settlements
                                                          serve. It also recognizes that systems
standards set out in this section. 18 To                                                                          in the event of an inability to settle by
                                                          may operate under different legal and
determine whether asystem is                                                                                      the participant with the largest single
                                                          regulatory constraints and within
systemically important for purposes of                                                                            settlement obligation.
                                                          particular market infrastructures or
this policy, the Board may consider, but                                                                              6. Assets used for settlement should
                                                          institutional frameworks. The Board
will not be limited to, one or more of the                                                                        preferably be aclaim on the central
                                                          will consider these factors when
following factors:                                        assessing how asystemically important                   bank; where other assets are used, they
   • Whether the system has the                                                                                    should carry little or no credit risk and
                                                          system addresses aparticular standard,
potential to create significant liquidity                                                                          little or no liquidity risk,
disruptions or dislocations should it fail                  The Board's standards for
                                                                                                                      7. The system should ensure ahigh
to perform or settle as expected;                         systemically important payments and
                                                                                                                   degree of security and operational
   • Whether the system has the                           securities settlement systems are based,
                                                                                                                   reliability and should have contingency
potential to create large credit or                       respectively, on the Core Principles and
                                                                                                                   arrangements for timely completion of
liquidity exposures relative to                           the Recommendations. The Core
                                                                                                                   daily processing.
participants' financial capacity;                         Principles and the Recommendations
                                                                                                                     8. The system should provide ameans
   • Whether the system settles ahigh                     are two examples of recent initiatives
                                                                                                                   of making payments which is practical
proportion of large-value transactions;                   pursued by the international financial
                                                                                                                   for its users and efficient for the
   • Whether the system settles                           community to strengthen the global
                                                                                                                   economy.
transactions for critical financial                       financial infrastructure. 20 The Federal
                                                                                                                      9. The system should have objective
markets; l                                                Reserve worked closely with other
                                                                                                                   and publicly disclosed criteria for
   • Whether the system provides                          central banks to develop and draft the
                                                                                                                   participation, which permit fair and
settlement for other systems;                             Core Principles and with other central
                                                                                                                   open access.
   • Whether the system is the only                       banks and securities regulators to
                                                                                                                      10. The system's governance
system or one of avery few systems for                    develop and draft the
                                                                                                                   arrangements should be effective,
settlement of agiven financial                            Recommendations. These standards are
                                                                                                                   accountable and transparent.
instrument.                                               part of the Financial Stability Forum's
   Systemically important systems are                     Compendium of Standards that have                        2. Standards for Systemically Important
expected to meet specific risk                            been widely recognized, supported, and                   Securities Settlement Systems
                                                          endorsed by U.S. authorities as integral
                                                                                                                     The CPSS-IOSCO Recommendations
   17 To facilitate analysis of settlement disruptions,   to strengthening the stability of the
systems with significant settlement flows may need                                                                 apply to the full set of institutional
                                                          financial system.                                        arrangements for confirmation,
to develop the capability to simulate credit and
liquidity effects on participants and on the system                                                                clearance, and settlement of securities
resulting from one or more participant defaults, or          20 The Core Principles draw extensively on the        transactions, including those related to
other possible sources of settlement disruption.           previous work of the CPSS, most importantly the
Such simulations may need to include, if
                                                                                                                   market convention and pre-settlement
                                                           Report of the Committee on Interbank Netting
appropriate, the effects of changes in market prices,      Schemes of the Central Banks of the Group of Ten        activities. As such, not all of these
volatilities, or other factors.                            Countries (the Lansfalussy Minimum Standards).          standards apply to all systems.
   Is The Board will separately inform systems             The Core Principles extend the Lamfalussy               Moreover, the standards applicable to a
subject to the policy as to whether they are or are        Minimum Standards by adding several principles
                                                                                                                   particular system also will vary based
 not systemically important.                               and broadening the coverage to include
    5 Th e"Interagency Paper on Sound Practices to         systemically important payments systems of all          on the structure of the market and the
 Strengthen the Resilience of the U.S. Financial           types, including gross settlement systems and           system's design.
 System" defines critical financial markets as the         hybrid systems, operated by either the public or          While the Board endorses the CPSS-
 markets for federal funds, foreign exchange, and          private sector. The Core Principles also address the
                                                           responsibilities of central banks in applying the       IOSCO Recommendations in their
 commercial paper: U.S. government and agency
 securities: and corporate debt and equity securities.     Core Principles.                                        entirety, its primary interest for
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 purposes of this policy is in those                 transfers in away that achieves delivery          17. Central securities depositories and
 standards related to the settlement                 versus payment.                                central counterparties should provide
 aspects of securities transactions,                    8. Final settlement should occur no         market participants with sufficient
 including the role of central                       later than the end of the settlement day.      information for them to identify and
 counterparties and central depositories,            Intraday or real time finality should be       evaluate accurately the risks and costs
 the delivery of securities against                  provided where necessary to reduce             associated with using the central
 payment, and related risks. 2'The Board             risks.                                         securities depository or central
 expects that systems engaged in the                     9. Central securities depositories that    counterparty services.
 management or conduct of settling                    extend intraday credit to participants,          18. Securities settlement systems
 securities transactions and their                   including central securities depositories      should be subject to transparent and
 participants to comply with the                     that operate net settlement systems,           effective regulation and oversight.
 expectations set forth in the applicable            should institute risk controls that, at a      Central banks and securities regulators
 Recommendations. Securities settlement
                                                     minimum, ensure timely settlement in           should cooperate with each other and
 systems also may wish to consult the                the event that the participant with the        with other relevant authorities.
 Assessment Methodology for                                                                            19. Central securities depositories that
                                                     largest payment obligation is unable to
  "Recommendations for Securities                    settle. The most reliable set of controls      establish links to settle cross-border
 Settlement Systems" for further                     is acombination of collateral                  trades should design and operate such
 guidance on each standard. 22                                                                      links to reduce effectively the risks
                                                     requirements and limits.
    1. Securities settlement systems
                                                         10.-Assets-used to settle the ultimate     associated with cross-border settlement.-
 should have awell-founded, clear and
                                                     payment obligations arising from
 transparent legal basis in the relevant                                                            II. Federal Reserve Daylight Credit
                                                     securities transactions should carry
jurisdictions.                                                                                      Policies
                                                     little or no credit or liquidity risk. If
    2. Confirmation of trades between
                                                     central bank money is not used, steps            This part outlines the methods used
 direct market participants should occur                                                           to control intraday overdraft exposures
                                                     must be taken to protect central
as soon as possible after trade execution,
                                                     securities depository members from            in Federal Reserve accounts. These
but no later than the trade date (T±0).
                                                     potential losses and liquidity pressures      methods include limits on daylight
Where confirmation of trades by
                                                     arising from the failure of the cash          overdrafts in institutions' Federal
indirect market participants (such as
                                                     settlement agent whose assets are used        Reserve accounts and collateralization,
institutional investors) is required, it
                                                     for that purpose.                             in certain situations, of daylight
should occur as soon as possible after
                                                        11. Sources of operational risk arising    overdrafts at the Federal Reserve.
the trade execution, preferably on I i-0,                                                            To assist institutions in implementing
but no later than T± 1.                              in the clearing and settlement process
                                                                                                   this part of the policy, the Federal
   3. Rolling settlement should be                   should be identified and minimized
                                                                                                   Reserve has prepared two documents:
adopted in all securities markets. Final             through the development of appropriate
                                                     systems, controls and procedures.             the Overview of the Federal Reserve's
settlement should occur no later than
                                                     Systems should be reliable and secure,        Payments System Risk Policy on
T±3. The benefits and costs of a
                                                     and have adequate, scalable capacity.         Daylight Credit (Overview) and the
settlement cycle shorter than T+3
                                                                                                   Guide to the Federal Reserve's Payments
should be evaluated.                                 Contingency plans and backup facilities
                                                     should be established to allow for the        System Risk Policy on Daylight Credit
   4. The benefits and costs of acentral
                                                     timely recovery of operations and             (Guide). 23 The Overview summarizes
counterparty should be evaluated.
                                                                                                   the Board's policy on the provision of
Where such amechanism is introduced,                 completion of the settlement process.
                                                        12. Entities holding securities in         daylight credit, including net debit caps
the central counterparty should
                                                     custody should employ accounting              and daylight overdraft fees, and is
rigorously control the risks it assumes.
                                                                                                   intended for use by institutions that
   5. Securities lending and borrowing              practices and safekeeping procedures
                                                    that fully protect customers' securities.      incur only small and infrequent daylight
(or repurchase agreements and other
                                                    It is essential that customers' securities     overdrafts. The Guide explains in detail
economically equivalent transactions)
should be encouraged as amethod for                 be protected against the claims of a           how these policies apply to different
                                                    custodian's creditors.                         institutions and includes procedures for
expediting the settlement of securities
                                                                                                   completing aself-assessment and filing
transactions. Barriers that inhibit the                 13. Governance arrangements for
practice of lending securities for this             central securities depositories and            acap resolution, as well as information
                                                                                                   on other aspects of the policy.
purpose should be removed.                          central counterparties should be
   6. Securities should be immobilized              designed to fulfill public interest            A. Daylight Overdraft Definition and
or dematerialized and transferred by                requirements and to promote the                Measurement
book entry in acentral securities                   objectives of owners and users.
                                                                                                      A daylight overdraft occurs when an
depository to the greatest extent                       14. Central securities depositories and
                                                                                                   institution's Federal Reserve account is
possible.                                           central counterparties should have
                                                                                                   in anegative position during the
   7. Central securities depositories               objective and publicly disclosed criteria
                                                                                                   business day. The Reserve Banks use an
should eliminate principal risk by                  for participation that permit fair and
                                                                                                   ex post system to measure daylight
linking securities transfers to funds               open access.
                                                                                                   overdrafts in institutions' Federal
                                                       15. While maintaining safe and secure
                                                                                                   Reserve accounts. Under this ex post
  21 The css and the Technical committee of
                                                    operations, securities settlement
iosco have recently developed aseparate set of                                                     measurement system, certain
                                                    systems should be cost-effective in
Recommendations for central counterparties,                                                        transactions, including Fedwire funds
which are intended to supersede those elements of   meeting the requirements of users.
                                                                                                   transfers, book-entry securities transfers,
the Recommendations for Securities Settlement          16. Securities settlement systems
                                                                                                   and net settlement transactions, are
Systems that are applicable to central              should use or accommodate the relevant
counterparties. The Board will review the new                                                      posted as they are processed during the
                                                    international communication
recommendations and determine whether it is                                                        business day. Other transactions,
appropriate to incorporate them into this policy.   procedures and standards in order to
  22 CPSS and Technical Committee otIOSCO           facilitate efficient settlement of cross-        23 A va il abl eat http.'//www.federalreserve.gov/
(November 2002). Available at http://www.bis.org.   border transactions.                           paymentsystems/PSR.
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including ACH and check transactions,                       guaranteed as to principal and interest             -       Main account Treasury withdrawals
are posted to institutions' accounts                        by, the United States. 28                                   from TIP. 31
according to adefined schedule. The                         Post at 8:30 am, eastern time:                              Post by 9:15 am, eastern time:
following table presents the schedule                   ±Government and commercial ACH                          ± U.S. Treasury and government agency
used by the Federal Reserve for posting                   credit transactions. 29                                 Fedwire book-entry interest and
transactions to institutions' accounts for              ± Treasury Electronic Federal Tax                         redemption payments. 32
purposes of measuring daylight                            Payment System (EFTPS) investments                    + Electronic payments for U.S. Treasury

overdrafts.                                               from ACH credit transactions.                           and government agency matured
Procedures for Measuring Daylight                       •Advance-notice Treasury investments.                     coupons and definitive securities. 33
                                                        + Treasury checks, postal money orders,                   Post by 9:15 am, eastern time (until
Overdrafts    24

                                                          local Federal Reserve Bank checks,                    July 20, 2006):
Opening Balance (Previous Day's                           and EZ-Clear savings bond
                                                                                                                + Fedwire book-entry interest and
Closing Balance)                                          redemptions in separately sorted
                                                                                                                  redemption payments on securities
    Post throughout business day:                         deposits; these items must be
                                                                                                                  that are not obligations of, or fully
                                                          deposited by 12:01 am, local time or
± Fedwire funds transfers.                                                                                        guaranteed as to principal and interest
                                                          the local deposit deadline, whichever
± Fedwire book-entry securities                                                                                   by, the United States. 34
                                                          is later.                                             + Electronic payments for matured
  transfers.                                               Penalty assessments for tax payments
                                                                                                                  coupons and definitive securities that
                                                        -




± National Settlement Service entries.                    from the Treasury Investment
                                                                                                                  are not obligations of, or fully
  Post throughout business day                            Program (TIP)
                                                                                                                  guaranteed as to principal and interest
                                                                             30




(beginning July 20, 2006):                                Post at 8:30 am, eastern time and                       by, the United States. 35
                                                        hourly, on the half-hour, thereafter:
+   Fedwire book-entry interest and                                                                               Post beginning at 9:15 am, eastern
    redemption payments on securities                   ± Main account administrative                           time:
    that are not obligations of, or fully                 investment or withdrawal from TIP.
                                                                                                                         Original issues of Treasury
                                                        ± Special Direct Investment (SDI)
                                                                                                                    -




    guaranteed as to principal and interest                                                                             securities. 36
    by, the United States.25 26 27                        administrative investment or
                                                                                                                  Post at 9:30 am, eastern time and
    Electronic payments for matured                       withdrawal from TIP.
+
                                                                                                                hourly, on the half-hour, thereafter:
                                                        + 31 CFR part 202 account deposits
    coupons and definitive securities that
                                                          from TIP.                                             +       Federal Reserve Electronic Tax
    are not obligations of, or fully
                                                        -  Uninvested paper tax (PATA)O                                 Application (FR-ETA) value Fedwire
                                                          deposits from TIP.                                            investments from TIP.
  24 Thi sschedule of posting rules does not affect

the overdraft restrictions and overdraft-
                                                        -  Main account balance limit                                   Post at 11 am, eastern time:
measurement provisions for nonbank banks                  withdrawals from TIP.                                 ±ACH debit transactions.
established by the Competitive Equality Banking            Collateral deficiency withdrawals                    + EFTPS investments from ACH debit
                                                        -




Act of 1987 and the Board's Regulation Y (12 CFR          from TIP.
22552).
                                                                                                                  transactions.
                                                           31 CFR part 202 deficiency
  25 The Reserve Banks act as fiscal agents for                                                                   Post at 11 am, eastern time and
                                                        -




certain entities, such as government-sponsored            withdrawals from TIP.
                                                                                                                hourly thereafter:
enterprises (GSEs) and international organizations,       Post at 8:30 am., 1p.m., and 6:30
whose securities are Fedwire-eligible but are not                                                               ±Commercial check transactions,
                                                        p.m. eastern time:                                        including returned checks.37'
obligations of, or fully guaranteed as to principal                                                                                                      38


and interest by, the United States. The GSEs
include Fannie Mae. the Federal Home Loan                 28 Electronic payments for credits on these
                                                                                                                  3! On rare occasions, the Treasury may announce
Mortgage Corporation (Freddie Mac), entities of the     securities will post according to the posting rules     withdrawals in advance that are based on
Federal Home Loan Bank System (FHLBS), the              for the mechanism through which they are
                                                                                                                institutions' closing balances on the withdrawal
Farm Credit System, the Federal Agricultural            processed, as outlined in this policy. However, the
                                                                                                                date. The Federal Reserve will post these
Mortgage Corporation (Farmer Mac), the Student          majority of these payments are made by check and
                                                                                                                withdrawals after the close of Fedwire.
Loan Marketing Association (Sallie Mae). the            will be posted according to the established check
                                                                                                                  32 For purposes of this policy, government
Financing Corporation, and the Resolution Funding       posting rules as set forth in this policy.
                                                                                                                agencies are those entities (other than the U.S.
Corporation. The international organizations               20 Ins tit uti ons that are monitored in real time
                                                                                                                Treasury) for which the Reserve Banks act as fiscal
include the World Bank. the Inter-American              must fund the total amount of their commercial
                                                                                                                agents and whose securities are obligations of, or
Development Bank. the Asian Development Bank,           ACH credit originations in order for the transactions
                                                                                                                fully guaranteed as to principal and interest by. the
and the African Development Bank. The Student           to be processed. If the Federal Reserve receives
                                                                                                                United States.
Loan Marketing Association Reorganization Act of        commercial ACH credit transactions from
                                                                                                                   33 Electronic payments for credits on these
1996 requires Sallie Mae to be completely               institutions monitored in real time after the
                                                                                                                securities will post by 9:15 a.m. eastern time:
privatized by 2008: however, Sallie Mae plans to        scheduled close of the Fedwire Funds Service,
                                                                                                                however, the majority of these payments are made
complete privatization by September 2006. Upon          these transactions will be processed at 12:30 am.
                                                                                                                by check and will be posted according to the
privatization. the Reserve Banks will no longer act     the next business day, or by the ACH deposit
                                                                                                                estabiished check posting rules as set forth in this
as fiscal agents for new issues of Sallie Mae           deadline, whichever is earlier. The Account
                                                                                                                policy.
securities, and the new Sallie Mae will not be          Balance Monitoring System provides intraday
                                                                                                                   34 See footnote 25.
considered aGSE.                                        account information to the Reserve Banks and
   26 Th eterm "interest and redemption payments"       institutions and is used primarily to give authorized           35   See footnote 33.
refers to payments of principal, interest, and          Reserve Bank personnel amechanism to control                 Original issues of government agency,
                                                                                                                        36

redemption on securities maintained on the              and monitor account activity for selected               government-sponsored enterprise, or international
Fedwire Securities Service.                             institutions. For more information on ACH               organization securities are delivered as book-entry
   27 The Reserve Banks will post these transactions,   transaction processing, refer to the ACH Settlement     securities transfers and will be posted when the
                                                        Day Finality Guide available through the Federal        securities are delivered to the purchasing
as directed by the issuer, provided that the issuer's
Federal Reserve account contains funds equal to or      Reserve Financial Services Web site at http://          institutions.
in excess of the amount of the interest and             www.frbservices.org.                                      37 This does not include electronic check

redemption payments to be made. In the normal              30 The Reserve Banks will identify and notify        presentments, which are posted at 1p.m. local time
course, if aReserve Bank does not receive funding       institutions with Treasury-authorized penalties on      and hourly thereafter. Paper check presentments are
from an issuer for the issuer's interest and            Thursdays. In the event that Thursday is aholiday,      posted on the hour at least one hour after
redemption payments by the established cut-off          the Reserve Banks will identify and notify              presentment. Paper checks presented before 10:01
hour of 4p.m. eastern time on the Fedwire               institutions with Treasury-authorized penalties on      am, eastern time will be posted at 11 am. eastern
Securities Service, the issuer's payments will not be   the following business day. Penalties will then be      time. Presentment times will be based on surveys
processed on that day.                                  posted on the business day following notification.      of endpoints' scheduled courier deliveries and so
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 ±Check corrections amounting to $1                        ±All other transactions. These                            The daily daylight overdraft charge is
   million or more. 39                                      transactions include the following:                   reduced by adeductible, valued at the
 • Currency and coin deposits.                              local Federal Reserve Bank checks                     effective daily rate for a 10-hour
 + Credit adjustments amounting to $1                       presented after 3p.m. eastern time but                operating day. The deductible equals 10
   million or more. 4°                                      before 3p.m. local time; noncash                      percent of acapital measure (see section
   Post at 12:30 p.m. eastern time and                      collection; currency and coin                         II.C.3., "Capital measure"). Because the
 hourly, on the half-hour, thereafter:                      shipments; small-dollar credit                        effective daily rate applicable to the
 + Dynamic investments from TIP.                            adjustments; and all debit                            deductible is kept constant at the 10-
     Post by 1p.m. eastern time:                            adjustments. Discount-window loans                    hour-operating-day rate, any changes to
 + Same-day Treasury investments.                           and repayments are normally posted                    the scheduled Fedwire operating day
                                                            after the close of Fedwire as well;                   should not significantly affect the value
   Post at 1p.m. local time and hourly
                                                            however, in unusual circumstances a                   of the deductible. 45 Reserve Banks will
 thereafter:
                                                            discount window loan may be posted                    waive fees of $25 or less in any two-
     Electronic check presentments. 4'
                                                            earlier in the day with repayment 24                  week reserve-maintenance period.
 -




     Post at 5p.m. eastern time:                            hours later, or aloan maybe repaid                    Certain institutions are subject to a
 + Treasury checks, postal money orders,                    before it would otherwise become                      penalty fee and modified daylight
   and EZ-Clear savings bond                                due.                                                  overdraft fee calculation as described in
   redemptions in separately sorted                         Equals: Closing Balance.                              section lIE.
   deposits;. these items must be
                                                           B. Pricing                                             C. Net Debit Caps
   deposited by 4 p.m. eastern time.
 ± Local Federal Reserve Bank checks;                        Reserve Banks charge institutions for                1. Definition
  these items must be presented before                    daylight overdrafts incurred in their
  3p.m. eastern time.                                     Federal Reserve accounts. For each two-                   To limit the aggregate amount of
± Same-day ACH transactions; these                        week reserve-maintenance period, the                   daylight credit that the Reserve Banks
  transactions include ACH return                         Reserve Banks calculate and assess                     extend, each institution incurring
  items, check-truncation items, and                      daylight overdraft fees, which are equal               daylight overdrafts in its Federal
  flexible-settlement items.                              to the sum of any daily daylight                       Reserve account must adopt anet debit
  Post at 6:30 p.m. eastern time: 42                      overdraft charges during the period.                   cap, that is, aceiling on the
+ Penalty abatements from TIP.                               Daylight overdraft fees are calculated              uncollateralized daylight overdraft
  Post after the close of Fedwire Funds                   using an annual rate of 36 basis points,               position that it can incur during agiven
Service:                                                  quoted on the basis of a24-hour day. To                interval. If an institution's daylight
                                                          obtain the effective annual rate for the               overdrafts generally do not exceed the
will occur at the same time each day for aparticular      standard Fedwire operating day, the 36-                lesser of $10 million or 20 percent of its
institution.                                              basis-point annual rate is multiplied by               capital measure, the institution may
   38 Institutions must choose one of two check-          the fraction of a24-hour day during                    qualify for the exempt-from-filing cap.
credit posting options: (I) All credits posted at a                                                              An institution must be financially
                                                          which Fedwire is scheduled to operate.
single, float-weighted posting time, or (2) fractional
                                                          For example, under a21.5-hour                          healthy and have regular access to the
credits posted throughout the day. The first option
allows an institution to receive all of its check         scheduled Fedwire operating day, the                   discount window in order to adopt anet
credits at asingle time for each type of cash letter.     effective annual rate used to calculate                debit cap greater than zero or qualify for
This time may not necessarily fall on the clock           daylight overdraft fees equals 32.25                   the filing exemption.
hour. The second option lets the institution receive
aportion of its available check credits on the clock      basis points (36 basis points multiplied                 An institution's cap category and
hours between 11 am, and 6p.m. eastern time. The          by 21.5/24) 43 The effective daily rate is             capital measure determine the size of its
option selected applies to all check deposits posted      calculated by dividing the effective                   net debit cap. More specifically, the net
to an institution's account. Reserve Banks will           annual rate by 360. 44 An institution's
calculate crediting fractions and float-weighted
                                                                                                                 debit cap is calculated as an
posting times for each time zone based on surveys.        daily daylight overdraft charge is equal               institution's cap multiple times its
Credits for mixed cash letters and other Fed cash         to the effective daily rate multiplied by              capital measure:
letters are posted using the crediting fractions or the   the institution's average daily daylight
float-weighted posting times for the time zone of the                                                            net debit cap = cap multiple xcapital
                                                          overdraft minus adeductible valued at
Reserve Bank servicing the depositing institution.                                                                    measure
For separately sorted deposits, credits are posted        the deductible's effective daily rate.
using the posting times for the time zone of the            An institution's average daily daylight                Cap categories (see section II.C.2,,
Reserve Bank servicing the payor institution.             overdraft is calculated by dividing the                "Cap categories") and their associated
  3. Corrections are account entries made to correct
                                                          sum of its negative Federal Reserve                    cap levels, set as multiples of capital
discrepancies detected by aReserve Bank during
                                                          account balances at the end of each                    measure, are listed below:
the initial processing of checks.
   10 Adjustments are account entries made to
                                                          minute of the scheduled Fedwire
correct discrepancies detected by an institution          operating day by the total number of                           NET DEBIT CAP MULTIPLES
after entries have posted to its account and are          minutes in the scheduled Fedwire
made at the request of the institution.                   operating day. In this calculation, each                                                     Two-week
  4' The Federal Reserve Banks will post debits to
                                                                                                                 Cap category        Single day
                                                          positive end-of-minute balance in an                                                          average
institutions' accounts for electronic check
presentments made before 12 p.m. local time at I          institution's Federal Reserve account is
                                                                                                                 Nigh              2.25              1.50
p.m. local time. The Reserve Banks will post              set to equal zero.                                     Above aver-       1.875             1.125
presentments made after 12 p.m. local time on the
                                                                                                                   age,
next clock hour that is at least one hour after
                                                            43 A change in the length of the scheduled           Average
presentment takes place but no later than 3p.m                                                                                     1.125             0.75
                                                          Fedwire operating day should not significantly         De minimis
local time.                                                                                                                        0.40              0.40
                                                          change the amount of fees charged because the
                                                                                                                 Exempt-from-      $10 million or    $10 million or
  42 The Federal Reserve Banks will process and           effective daily rate is applied to average daylight
post Treasury-authorized penalty abatements on            overdrafts, whose calculation would also reflect the
                                                                                                                   filing 46 .       0.20.             0.20
Thursdays. In the event that Thursday is aholiday,        change in the operating day.
the Federal Reserve Banks will process and post              4 Under the current 21.5-hour Fedwire operating        45 Under the current 21.5-hour Fedwire operating
Treasury-authorized penalty abatements on the             day, the effective daily daylight-overdraft rate is    day, the effective daily deductible rate is rounded
following business day.                                   truncated to 0.0000089.                                to 0.0000042.
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       NET DEBIT CAP MULTIPLES—                        minimis, exempt-from-filing, and zero.                   twelve-month period. A cap
                   Continued                           The high, above average, and average                     determination maybe reviewed and
                                                       cap categories are referred to as "self-                 approved by the board of directors of a
                                       Two-week        assessed" caps.                                          holding company parent of an
Cap category         Single day
                                        average          a. Self-assessed. In order to establish                institution, provided that (1) the self-
                                                       anet debit cap category of high, above                   assessment is performed by each entity
Zero               0.0               0.0
                                                       average, or average, an institution must                 incurring daylight overdrafts, (2) the
  46 The  net debit cap for the exempt-from-fil-       perform aself-assessment of its own                      entity's cap is based on the measure of
ing category is equal to the lesser of $10 mil-        creditworthiness, intraday funds                         the entity's own capital, and (3) each
lion or 0.20 multiplied by the institution's cap-      management and control, customer                         entity maintains for its primary
ital measure.
                                                       credit policies and controls, and                        supervisor's review its own file with
   An institution is expected to avoid                 operating controls and contingency                       supporting documents for its self-
incurring daylight overdrafts whose                    procedures. 48 The assessment of                         assessment and arecord of the parent's
daily maximum level, averaged over a                   creditworthiness is based on the                         board-of-directors review, 50
two-week period, would exceed its two-                 institution's supervisory rating and                       In applying these guidelines, each
week average cap, and, on any day,                     Prompt Corrective Action (PCA)                           institution should maintain afile for
would exceed its single-day cap. 47 The                designation. 49 An institution may                       examiner review that includes (1)
two-week average cap provides                          perform afull assessment of its                          worksheets and supporting analysis
flexibility, in recognition that                       creditworthiness in certain limited                      used in its self-assessment of its own
fluctuations in payments can occur from                circumstances, for example, if its                       cap category, (2) copies of senior-
day to day. The purpose of the higher                  condition has changed significantly                      management reports to the board of
single-day cap is to limit excessive                   since its last examination or if it                      directors of the institution or its parent
daylight overdrafts on any day and to                  possesses additional substantive                         (as appropriate) regarding that self-
ensure that institutions develop internal              information regarding its financial                      assessment, and (3) copies of the
controls that focus on their exposures                 condition. An institution performing a                   minutes of the discussion at the
each day, as well as over time.                        self-assessment must also evaluate its                   appropriate board-of-directors meeting
   The Board's policy on net debit caps                                                                         concerning the institution's adoption of
                                                       intraday funds-management procedures
is based on aspecific set of guidelines                                                                         acap category. 51
                                                       and its procedures for evaluating the
and some degree of examiner oversight.                                                                            As part of its normal examination, the
                                                       financial condition of and establishing
Under the Board's policy, aReserve                                                                              institution's examiners may review the
                                                       intraday credit limits for its customers.
Bank may limit or prohibit an                                                                                   contents of the self-assessment file, 52
                                                       Finally, the institution must evaluate its
institution's use of Federal Reserve                                                                            The objective of this review is to ensure
                                                       operating controls and contingency
intraday credit if (I) the institution's use                                                                    that the institution has applied the
                                                       procedures to determine if they are
of daylight credit is deemed by the                                                                             guidelines appropriately and diligently,
                                                       sufficient to prevent losses due to fraud
institution's supervisor to be unsafe or                                                                        that the underlying analysis and method
                                                       or system failures. The "Guide to the
unsound; (2) the institution does not                                                                           were reasonable, and that the resultant
                                                       Federal Reserve's Payments System Risk
qualify for apositive net debit cap (see                                                                        self-assessment was generally consistent
                                                       Policy" includes adetailed explanation
section II.C.2., "Cap categories"); or (3)                                                                      with the examination findings.
                                                       of the self-assessment process.
the institution poses excessive risk to a                Each institution's board of directors                  Examiner comments, if any, should be
Reserve Bank by incurring chronic                      must review that institution's self-                     forwarded to the board of directors of
overdrafts in excess of what the Reserve                                                                        the institution. The examiner, however,
                                                       assessment and recommended cap
Bank determines is prudent.                                                                                     generally would not require a
                                                       category. The process of self-assessment,
   While capital measures differ, the net                                                                       modification of the self-assessed cap
                                                       with board-of-directors review, should
debit cap provisions of this policy apply
                                                       be conducted at least once in each
to foreign banking organizations (FBOs)                                                                            50 An FBO should undergo the same self-

to the same extent that they apply to                                                                           assessment process as adomestic bank in
                                                         48 This assessment should be done on an                determining anet debit cap for its U.S. branches
U.S. institutions. The Reserve Banks                   individual-institution basis, treating as separate       and agencies. Many FBOs, however, do not have the
will advise home-country supervisors of                entities each commercial bank. each Edge                 same management structure as U.S. institutions,
the daylight overdraft capacity of U.S.                corporation land its branches), each thrift              and adjustments should be made as appropriate. If
                                                       institution, and so on. An exception is made in the      an FBO's board of directors has amore limited role
branches and agencies of FBOs under
                                                       case of U.S. branches and agencies of FBOs.              to play in the bank's management than aU.S. board
their jurisdiction, as well as of other                Because these entities have no existence separate        has. the self-assessment and cap category should be
pertinent information related to the                   from the FBO, all the U.S. offices of FBOs               reviewed by senior management at the FBO's head
FBOs' caps. The Reserve Banks will also                (excluding U.S-chartered bank subsidiaries and           office that exercises authority over the FBO
                                                       U.S -chartered Edge subsidiaries) should be treated      equivalent to the authority exercised by aboard of
provide information on the daylight
                                                       as aconsolidated family relying on the FBO's             directors over aU.S. institution. In cases in which
overdrafts in the Federal Reserve                      capital.                                                 the board of directors exercises authority equivalent
accounts of FBOs' U.S. branches and                       49 An insured depository institution is (1) "well     to that of aU.S. board, cap determination should
agencies in response to requests from                  capitalized'' if it significantly exceeds the required   be made by the board of directors.
                                                       minimum level for each relevant capital measure,            51 In addition, for FBOs, the file that is made
home-country supervisors.
                                                       121 "adequately capitalized" if it meets the required    available for examiner review by the U.S. offices of
2. Cap Categories                                      minimum level for each relevant capital measure,         an FBO should contain the report on the self-
                                                       (3) "undercapitalized" if it fails to meet the           assessment that the management of U.S. operations
  The policy defines the following six                 required minimum level for any relevant capital          made to the FBO's senior management and arecord
cap categories, described in more detail               measure, (4) "significantly undercapitalized" if it is   of the appropriate senior management's response or
                                                       significantly below the required minimum level for       the minutes of the meeting of the FBO's board of
below: high, above average, average, de
                                                       any relevant capital measure, or (5) "critically         directors or other appropriate management group, at
                                                       undercapitalized" if it fails to meet any leverage       which the self-assessment was discussed.
  47 The two-week period is the two-week reserve-      limit (the ratio of tangible equity to total assets)         2Between examinations, examiners or Reserve

maintenance period. The number of days used in         specified by the appropriate Federal banking             Bank staff may contact an institution about its cap
calculating the average daylight overdraft over this   agency, in consultation with the FDIC, or any other      if there is other relevant information, such as
period is the number of business days the              relevant capital measure established by the agency       statistical or supervisory reports, that suggests there
institution's Reserve Bank is open during the          to determine when an institution is critically           may have been achange in the institution's
reserve-maintenance period.                            undercapitalized (12 U.S.C. 1831o).                      financial condition.
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category, but rather would inform the         assessments and filing board-of-               that consist of those capital instruments
appropriate Reserve Bank of any               directors resolutions with their Reserve       that can be used to satisfy risk-based
concerns. The Reserve Bank would then         Banks. This dual test of dollar amount         capital standards, as set forth in the
decide whether to modify the cap              and percent of capital measure is              capital adequacy guidelines of the
category. For example, if the                 designed to limit the filing exemption to      Federal financial regulatory agencies.
institution's level of daylight overdrafts    institutions that create only low-dollar       All of the Federal financial regulatory
constitutes an unsafe or unsound              risks to the Reserve Banks and that            agencies collect, as part of their required
banking practice, the Reserve Bank            incur small overdrafts relative to their       reports, data on the amount of capital
would likely assign the institution a         capital measure.                               that can be used for risk-based
zero net debit cap and impose                    The Reserve Banks will review the           purposes—'"risk-based" capital for
additional risk controls.                     status of an exempt institution that           commercial banks, savings banks, and
   The contents of the self-assessment        incurs overdrafts in its Federal Reserve       savings associations and total regulatory
file will be considered confidential by       account in excess of $10 million or 20         reserves for credit unions. Other U.S.-
the institution's examiner. Similarly, the    percent of its capital measure on more         chartered entities that incur daylight
Federal Reserve and the institution's         than two days in any two consecutive           overdrafts in their Federal Reserve
examiner will hold the actual cap level       two-week reserve-maintenance periods.          accounts should provide similar data to
selected by the institution confidential.     The Reserve Bank will decide if the            their Reserve Banks.
Net debit cap information should not be       exemption should be maintained or if             b. U.S. branches and agencies of
shared with outside parties or                the institution will be required to file for   foreign banks. For U.S.- branches and
mentioned in any public documents;            acap. Granting of the exempt-from-             agencies of foreign banks, net debit caps
however, net debit cap information will       filing net debit cap is at the discretion      on daylight overdrafts in Federal
be shared with the home-country               of the Reserve Bank.                           Reserve accounts are calculated by
supervisor of U.S. branches and                  d. Zero. Some financially healthy           applying the cap multiples for each cap
agencies of foreign banks.                    institutions that could obtain positive        category to the FBO's U.S. capital
   The Reserve Banks will review the          net debit caps choose to have zero caps.       equivalency measure. 53 U.S. capital
status of any institution with aself-         Often these institutions have very             equivalency is equal to the following:
assessed net debit cap that exceeds its       conservative internal policies regarding         • 35 percent of capital for FBOs that
cap during atwo-week reserve-                 the use of Federal Reserve daylight            are financial holding companies
maintenance period and will decide if         credit or simply do not want to incur          (FHCs) .54
the cap should be maintained or if            daylight overdrafts and any associated           • 25 percent of capital for FBOs that
additional action should be taken (see        daylight overdraft fees. If an institution     are not FHCs and have astrength of
section II.F., Monitoring").                  that has adopted azero cap incurs a            support assessment ranking (SOSA) of
   b. De minimis. Many institutions           daylight overdraft, the Reserve Bank           1.55
incur relatively small overdrafts and         counsels the institution and may                 • 10 percent of capital for FBOs that
thus pose little risk to the Federal          monitor the institution's activity in real     are not FHCs and are ranked aSOSA 2.
Reserve. To ease the burden on these          time and reject or delay certain                 • 5percent of "net due to related
small overdrafters of engaging in the         transactions that would cause an               depository institutions" for FBOs that
self-assessment process and to ease the       overdraft. If the institution qualifies for    are not FHCs and are ranked aSOSA 3.
burden on the Federal Reserve of              apositive cap, the Reserve Bank may              Granting anet debit cap, or any
administering caps, the Board allows          suggest that the institution adopt an          extension of intraday credit, to an
institutions that meet reasonable safety      exempt-from-filing cap or file for a
and soundness standards to incur de                                                             53 The term "U.S. capital equivalency" is used in
                                              higher cap if the institution believes that
                                                                                             this context to refer to the particular capital
minimis amounts of daylight overdrafts        it will continue to incur daylight             measure used to calculate net debit caps and does
without performing aself-assessment.          overdrafts.                                    not necessarily represent an appropriate capital
An institution may incur daylight                In addition, aReserve Bank may              measure for supervisory or other purposes.
overdrafts of up to 40 percent of its         assign an institution azero net debit             54 Th eGramm-Leach-Bliley Act defines a

                                                                                             financial holding company as abank holding
capital measure if the institution            cap. Institutions that may pose special        company that meets certain eligibility requirements.
submits aboard-of-directors resolution.       risks to the Reserve Banks, such as those      In order for abank holding company to become a
   An institution with ade minimis cap        without regular access to the discount         financial holding company and be eligible to engage
must submit to its Reserve Bank at least      window, those incurring daylight               in the new activities authorized under the Gramm-
once in each 12-month period acopy of                                                        Leach-Bliley Act. the Act requires that all
                                              overdrafts in violation of this policy, or     depository institutions controlled by the bank
its board-of-directors resolution (Or 5       those in weak financial condition, are         holding company be well capitalized and well
resolution by its holding company's           generally assigned azero cap (see              managed (12 U.S.C. 1841(p)). With regard to a
board) approving the institution's use of     section II.E.5., "Problem institutions").      foreign bank that operates abranch or agency or
                                                                                             owns or controls acommercial lending company in
daylight credit up to the de minimis          Recently-chartered institutions may also       the United States, the Act requires the Board to
level. The Reserve Banks will review the      be assigned azero net debit cap.               apply comparable capital and management
status of ade minimis cap institution                                                        standards that give due regard to the principle of
that exceeds its cap during a two-week        3. Capital Measure                             national treatment and equality of competitive
                                                                                             opportunity (12 U.S.C. 1843(0).
reserve-maintenance period and will             As described above, an institution's
                                                                                                .The SOSA ranking is composed of four factors,
decide if the de minimis cap should be        cap category and capital measure               including the FBO's financial condition and
maintained or if the institution will be      determine the size of its net debit cap.       prospects, the system of supervision in the FBO's
required to perform aself-assessment for      The capital measure used in calculating        home country, the record of the home country's
ahigher cap.                                                                                 government in support of the banking system or
                                              an institution's net debit cap depends
                                                                                             other sources of support for the FBO: and transfer
   c. Exempt-from-filing. Institutions that   upon its chartering authority and home-        risk concerns. Transfer risk relates to the FBO's
only rarely incur daylight overdrafts in      country supervisor.                            ability to access and transmit U.S. dollars, which
their Federal Reserve accounts that              a. U.S.-chartered institutions. For         is an essential factor in determining whether an
exceed the lesser of $10 million or 20                                                       FBO can support its U.S. operations. The SOSA
                                              institutions chartered in the United
                                                                                             ranking is based on ascale of 1through 3, with 1
percent of their capital measure are          States, net debit caps are multiples of        representing the lowest level of supervisory
excused from performing self-                 "qualifying" or similar capital measures       concern.
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institution is at the discretion of the                 alternatives to address their increased                   Institutions with exempt-from-filing
Reserve Bank. In the event aReserve                     liquidity needs. 59 The Reserve Banks                  and de minimis net debit caps may not
Bank grants anet debit cap or extends                   will work with an institution that                     obtain additional daylight overdraft
intraday credit to afinancially healthy                 requests additional daylight overdraft                 capacity by pledging collateral without
SOSA 3-ranked FBO, the Reserve Bank                     capacity to determine the appropriate                  first obtaining aself-assessed net debit
may require such credit to be fully                     maximum daylight overdraft capacity                    cap. Likewise, institutions that have
collateralized, given the heightened                    level. In considering the institution's                voluntarily adopted zero net debit caps
supervisory concerns with SOSA 3-                       request, the Reserve Bank will evaluate                may not obtain additional daylight
ranked FBOs.                                            the institution's rationale for requesting             overdraft capacity by pledging collateral
                                                        additional daylight overdraft capacity as              without first obtaining aself-assessed
D. Collateralized Capacity
                                                        well as its financial and supervisory                  net debit cap. Institutions that have
   The Board recognizes that while net                  information. The financial and                         been assigned azero net debit cap by
debit caps provide sufficient liquidity to              supervisory information considered may                 their administrative Reserve Bank are
most institutions, some institutions may                include, but is not limited to, capital                not eligible to apply for any daylight
still experience liquidity pressures. The               and liquidity ratios, the composition of               overdraft capacity.
Board believes it is important to provide               balance sheet assets, CAMELS or other
                                                                                                               E. Special Situations
an environment in which payment                         supervisory ratings and assessments,
systems may function effectively and                    and SOSA rankings (for U.S. branches                      Under the Board's policy, certain
efficiently and to remove barriers, as                  and agencies of foreign banks). An                     institutions warrant special treatment
appropriate, to foster risk-reducing                    institution approved for amaximum                      primarily because of their charter types.
payment system initiatives.                                                                                    As mentioned previously, an institution
                                                        daylight overdraft capacity level must
Consequently, certain institutions with                                                                        must have regular access to the discount
                                                        submit at least once in each twelve-
self-assessed net debit caps may pledge                                                                        window and be in sound financial
                                                        month period aboard-of-directors
collateral to their administrative Reserve                                                                     condition in order to adopt anet debit
                                                        resolution indicating its board's
Banks to secure daylight overdraft                                                                             cap greater than zero. Institutions that
                                                        approval of that level.
capacity in excess of their net debit                                                                          do not have regular access to the
                                                          If the Reserve Bank approves an
caps, subject to Reserve Bank                                                                                  discount window include Edge and
                                                        institution's request, the Reserve Bank
approval. 56 .
             57 This policy is intended to                                                                     agreement corporations, bankers' banks
                                                        approves amaximum daylight overdraft
provide extra liquidity through the                                                                            that are not subject to reserve
                                                        capacity level. The maximum daylight
pledge of collateral to the few                                                                                requirements, limited-purpose trust
                                                        overdraft capacity is defined as follows;
institutions that might otherwise be                                                                           companies, government-sponsored
                                                        maximum daylight overdraft capacity =                  enterprises (GSEs), and certain
constrained from participating in risk-
                                                             single-day net debit cap +                        international organizations. 61
reducing payment system initiatives. 58
                                                             collateralized capacity. 6°                       Institutions that have been assigned a
The Board believes that requiring
                                                          An institution that has aself-assessed               zero cap by their Reserve Banks are also
collateral allows the Federal Reserve to
                                                        net debit cap and that has also been                   subject to special considerations under
protect the public sector from additional
                                                        approved for amaximum daylight                         this policy based on the risks they pose.
credit risk. Additionally, providing
                                                        overdraft capacity level has atwo-week                 In developing its policy for these
extra liquidity to these few institutions
                                                        average limit equal to its two-week                    institutions, the Board has sought to
should help prevent liquidity-related
                                                        average net debit cap plus its                         balance the goal of reducing and
market disruptions.
                                                        collateralized capacity, averaged over a               managing risk in the payments system,
   An institution with aself-assessed net
                                                        two-week reserve-maintenance period.                   including risk to the Federal Reserve,
debit cap that wishes to expand its
                                                        The single-day limit is equal to an                    with that of minimizing the adverse
daylight overdraft capacity by pledging
                                                        institution's single-day net debit cap                 effects on the payments operations of
collateral should consult with its
                                                        plus its collateralized capacity. The                  these institutions.
administrative Reserve Bank.
                                                        institution should avoid incurring                        Regular access to the Federal Reserve
Institutions that request daylight
                                                        daylight overdrafts whose daily                        discount window generally is available
overdraft capacity beyond the net debit
                                                        maximum level, averaged over atwo-                     to institutions that are subject to reserve
cap must have already explored other
                                                        week period, would exceed its two-                     requirements. If an institution that is not
                                                        week average limit, and, on any day,                   subject to reserve requirements and thus
  56 The administrative Reserve Bank is responsible
for the administration of Federal Reserve credit,       would exceed its single-day limit. The                 does not have regular discount-window
reserves, and risk management policies for agiven       Reserve Banks will review the status of                access were to incur adaylight
institution or other legal entity.                      any institution that exceeds its single-               overdraft, the Federal Reserve might end
   7 In stituti on shave some flexibility as to the
                                                        day or two-week limit during atwo-                     up extending overnight credit to that
specific types of collateral they may pledge to the
Reserve Banks; however, all collateral must be
                                                        week reserve-maintenance period and                    institution if the daylight overdraft were
acceptable to the Reserve Banks. The Reserve Banks      will decide if the maximum daylight                    not covered by the end of the business
may accept securities in transit on the Fedwire         overdraft capacity should be maintained                day. Such acredit extension would be
book-entry securities system as collateral to support
                                                        or if additional action should be taken                contrary to the quid pro quo of reserves
the maximum daylight overdraft capacity level.
Securities in transit refer to book-entry securities
                                                        (see section IF., "Monitoring").                       for regular discount-window access as
transferred over the Fedwire Securities Service that                                                           reflected in the Federal Reserve Act and
have been purchased by an institution but not yet         59 Some potential alternatives available to an
                                                                                                               in Board regulations. Thus, institutions
paid for and owned by the institution's customers,      institution to address increased intraday credit
                                                                                                               that do not have regular access to the
  58 Ins tit uti ons may consider applying for a        needs include shifting funding patterns, delaying
maximum daylight overdraft capacity level for           the origination of funds transfers, or transferring    discount window should not incur
daylight overdrafts resulting from Fedwire funds        some payments processing business to a                 daylight overdrafts in their Federal
transfers, Fedwire book-entry securities transfers,     correspondent bank,                                    Reserve accounts.
National Settlement Service entries, and ACH credit       50 C oll atera li ze d capacity, on any given day,
                                                                                                                  Certain institutions are subject to a
originations. Institutions incurring daylight           equals the amount of collateral pledged to the
                                                        Reserve Bank, not to exceed the difference between
                                                                                                               daylight-overdraft penalty fee levied
overdrafts as aresult of other payment activity may
be eligible for administrative counseling flexibility   the institution's maximum daylight overdraft
(59 FR 54915-18, Nov. 2, 1994).                         capacity level and its single-day net debit cap.        61 See footnote   25.
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against the average daily daylight                       fund its subsidiary during the day over                 companies subject to conditions the
overdraft incurred by the institution.                   Fedwire or the parent could substitute                  Board may prescribe pursuant to the
These include Edge and agreement                         itself for its subsidiary on private                    Act. As ageneral matter, member
corporations, bankers' banks that are not                systems. Such an approach by the                        limited-purpose trust companies do not
subject to reserve requirements, and                     parent could both reduce systemic risk                  accept reservable deposits and do not
limited-purpose trust companies. The                     exposure and permit the Edge or                         have regular discount-window access.
annual rate used to determine the                        agreement corporation to continue to                    Limited-purpose trust companies
daylight-overdraft penalty fee is equal to               service its customers. Edge and                         should refrain from incurring daylight
the annual rate applicable to the                        agreement corporation subsidiaries of                   overdrafts and must post collateral to
daylight overdrafts of other institutions                foreign banking organizations are                       cover any overdrafts they do incur. In
(36 basis points) plus 100 basis points                  treated in the same manner as their                     addition to posting collateral, limited-
multiplied by the fraction of a24-hour                   domestically owned counterparts.                        purpose trust companies would be
day during which Fedwire is scheduled                                                                            subject to the same daylight-overdraft
                                                         2. Bankers' Banks 65
to operate (currently 21.5/24). The daily                                                                        penalty rate as other institutions that do
daylight-overdraft penalty rate is                          Bankers' banks are exempt from                       not have regular access to the discount
calculated by dividing the annual                        reserve requirements and do not have                    window,
penalty rate by 360.62 The daylight-                     regular access to the discount window.
                                                         They do, however, have access to                        4. Government-Sponsored Enterprises
overdraft penalty rate applies to the
                                                                                                                 and International Organizations
institution's average- daily- daylight                   Federal Reserve payment services.
                                                                                                                 (Beginning Ju1y20,2006)
overdraft in its Federal Reserve account.                Bankers' banks should refrain from
The daylight-overdraft penalty rate is                   incurring daylight overdrafts and must                    The Reserve Banks act as fiscal agents
charged in lieu of, not in addition to, the              post collateral to cover any overdrafts                 for certain GSEs and international
rate used to calculate daylight overdraft                they do incur. In addition to posting                   organizations in accordance with federal
fees for institutions described in section               collateral, abankers' bank would be                     statutes. These institutions generally
II.B. Institutions that are subject to the               subject to the daylight-overdraft penalty               have Federal Reserve accounts and issue
daylight-overdraft penalty fee do not                    fee levied against the average daily                    securities over the Fedwire Securities
benefit from adeductible and are                         daylight overdrafts incurred by the                     Service. The securities of these
subject to aminimum fee of $25 on any                    institution, as described above.                        institutions are not obligations of, or
daylight overdrafts incurred in their                      The Board's policy for bankers' banks                 fully guaranteed as to principal and
Federal Reserve accounts. 63                             reflects the Reserve Banks' need to                     interest by, the United States.
                                                         protect themselves from potential losses                Furthermore, these institutions are not
1. Edge and Agreement Corporations 64
                                                         resulting from daylight overdrafts                      subject to reserve requirements and do
  Edge and agreement corporations                        incurred by bankers' banks. The policy                  not have regular access to the discount
should refrain from incurring daylight                   also considers the fact that some                       window. GSEs and international
overdrafts in their Federal Reserve                      bankers' banks do not incur the costs of                organizations should refrain from
accounts. In the event that any daylight                 maintaining reserves as do some other                   incurring daylight overdrafts and must
overdrafts occur, the Edge or agreement                  institutions and do not have regular                    post collateral to cover any daylight
corporation must post collateral to cover                access to the discount window.                          overdrafts they do incur. In addition to
the overdrafts. In addition to posting                      Bankers' banks may voluntarily waive                 posting collateral, these institutions
collateral, the Edge or agreement                        their exemption from reserve                            would be subject to the same daylight-
corporation would be subject to the                      requirements, thus gaining access to the                overdraft penalty rate as other
daylight-overdraft penalty rate levied                   discount window. Such bankers' banks                    institutions that do not have regular
against the average daily daylight                       are free to establish net debit caps and                access to the discount window,
overdrafts incurred by the institution, as               would be subject to the same policy as
                                                                                                                 5. Problem Institutions
described above.                                         other institutions. The policy set out in
  This policy reflects the Board's                       this section applies only to those                        For institutions that are in weak
concerns that these institutions lack                    bankers' banks that have not waived                     financial condition, the Reserve Banks
regular access to the discount window                    their exemption from reserve                            will impose azero cap. The Reserve
and that the parent company may be                       requirements.                                           Bank will also monitor the institution's
unable or unwilling to cover its                                                                                 activity in real time and reject or delay
                                                         3. Limited-Purpose Trust Companies 66                   certain transactions that would create an
subsidiary's overdraft on atimely basis.
The Board notes that the parent of an                      The Federal Reserve Act permits the                   overdraft. Problem institutions should
Edge or agreement corporation could                      Board to grant Federal Reserve                          refrain from incurring daylight
                                                         membership to limited-purpose trust                     overdrafts and must post collateral to
   62 Under the current 21.5-hour Fedwire operating                                                              cover any daylight overdrafts they do
day, the effective daily daylight-overdraft penalty         65 For the purposes of this policy, abankers' bank   incur.
rate is truncated to 0.0000338.                          is adepository institution that is not required to
   63 While daylight overdraft fees are calculated       maintain reserves under the Board's Regulation 0
                                                                                                                 F. Monitoring
differently for these institutions than for              (12 CFR part 204) because it is organized solely to     1. Ex Post
institutions that have regular access to the discount    do business with other financial institutions, is
window, overnight overdrafts at Edge and                 owned primarily by the financial institutions with         Under the Federal Reserve's ex post
agreement corporations, bankers' banks that are not      which it does business, and does not do business        monitoring procedures, an institution
subject to reserve requirements, limited-purpose         with the general public. Such bankers' banks also
                                                                                                                 with adaylight overdraft in excess of its
trust companies, GSEs, and international                 generally are not eligible for Federal Reserve Bank
organizations are priced the same as overnight           credit under the Board's Regulation A (12 CFR           maximum daylight overdraft capacity or
overdrafts at institutions that have regular access to   201.2(c) (2)).                                          net debit cap may be contacted by its
the discount window.                                        66 For the purposes of this policy, alimited-        Reserve Bank. The Reserve Bank may
  64 Th ese institutions are organized under section     purpose trust company is atrust company that is         counsel the institution, discussing ways
25A of the Federal Reserve Act (12  U.S.C.   611-631)    amember of the Federal Reserve System but that
or have an agreement or undertaking with the Board       does not meet the definition of "depository
                                                                                                                 to reduce its excessive use of intraday
under section 25 of the Federal Reserve Act (12          institution" in section 19)b)(l)(A) of the Federal      credit. Each Reserve Bank retains the
U.S .c. 601-604(a)).                                     Reserve Act (12 U.S.C.   461)b)(l)(A)).                 right to protect its risk exposure from
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  individual institutions by unilaterally            branches of the same foreign bank are                  GENERAL SERVICES
  reducing net debit caps, imposing                  located, may determine that these                      ADMINISTRATION
  collateralization or clearing-balance              agencies and branches will not be
  requirements, rejecting or delaying                permitted to incur overdrafts in Federal               OMB Control No. 3090-0086
  certain transactions as described below,           Reserve accounts. Alternatively, the
  or, in extreme cases, taking the                                                                          General Services Administration
                                                     administrative Reserve Bank, after
  institution off line or prohibiting it from                                                               Acquisition Regulation; Information
                                                     similar consultation, may allocate all or
  using Fedwire.                                                                                            Collection; Proposal to Lease Space
                                                     part of the foreign family's net debit cap
                                                                                                            (Not Required By Regulation), GSA
  2. Real Time                                       to the Federal Reserve accounts of
                                                                                                            Form 1364
                                                     agencies or branches that are located
    A Reserve Bank will, through the
                                                     outside of the administrative Reserve                  AGENCY: General Services
 Account Balance Monitoring System,
                                                     Bank's District; in this case, the Reserve             Administration (GSA), GSA.
 apply real-time monitoring to an
                                                     Bank in whose Districts those agencies                 ACTION: Notice of request for comments
 individual institution's position when
                                                     or branches are located will be                        regarding arenewal to an existing OMB
 the Reserve Bank believes that it faces
                                                     responsible for administering all or part              clearance,
 excessive risk exposure, for example,
                                                     of the collateral requirement. 69
 from problem banks or institutions with
                                                                                                            SUMMARY: Under the provisions of the
 chronic overdrafts in excess of what the            G. Transfer-Size Limit on Book-Entry                   Paperwork Reduction Act of 1995 (44
 Reserve Bank determines is prudent. In              Securities
                                                                                                            U.S.C. Chapter 35), the General Services
 such acase, the Reserve Bank will
                                                                                                           Administration will be submitting to the
 control its risk exposure by monitoring                Secondary-market book-entry
                                                                                                           Office of Management and Budget
 the institution's position in real-time,            securities transfers on Fedwire are
                                                                                                            (OMB) arequest to review and approve
 rejecting or delaying certain transactions          limited to atransfer size of $50 million
                                                                                                           arenewal of acurrently approved
 that would exceed the institution's                 par value. This limit is intended to
                                                                                                           information collection requirement
 maximum daylight overdraft capacity or              encourage partial deliveries of large
                                                                                                           regarding proposal to lease space (not
 net debit cap, and taking other                     trades in order to reduce position
                                                     building by dealers, amajor cause of                  required by regulation), GSA Form
 prudential actions, including requiring                                                                    1364.
 collateral. 67                                      book-entry securities overdrafts before
                                                                                                              Public comments are particularly
                                                     the introduction of the transfer-size
 3. Multi-District Institutions                                                                            invited on: Whether this collection of
                                                     limit and daylight overdraft fees. This
                                                                                                           information is necessary and whether it
    Institutions, such as those                      limitation does not apply to either of the
                                                                                                           will have practical utility; whether our
 maintaining merger-transition accounts              following:
                                                                                                           estimate of the public burden of this
 and U.S. branches and agencies of a                   a. Original issue deliveries of book-               collection of information is accurate,
 foreign bank, that access Fedwire                   entry securities from aReserve Bank to                and based on valid assumptions and
 through accounts in more than one                   an institution                                        methodology; ways to enhance the
 Federal Reserve District are expected to
                                                      b. Transactions sent to or by aReserve               quality, utility, and clarity of the
 manage their accounts so that the total
                                                    Bank in its capacity as fiscal agent of the            information to be collected.
 daylight overdraft position across all
                                                    United States, government agencies, or                 DATES: Submit comments on or before:
 accounts does not exceed their net debit
                                                    international organizations.                           January 31, 2005.
 caps. One Reserve Bank will act as the
administrative Reserve Bank and will                   Thus, requests to strip or reconstitute             FOR FURTHER INFORMATION CONTACT: Julia
have overall risk-management                        Treasury securities or to convert bearer               Wise, Procurement Analyst, Contract
responsibilities for institutions                   or registered securities to or from book-              Policy Division, at telephone (202) 208-
maintaining accounts in more than one               entry form are exempt from this                        1168 or via e-mail tojulia.wise@gsa.gov.
Federal Reserve District. For domestic              limitation. Also exempt are pledges of                 ADDRESSES: Submit comments regarding
institutions that have branches in                  securities to aReserve Bank as principal               this burden estimate or any other aspect
multiple Federal Reserve Districts, the             (for example, discount-window                          of this collection of information,
administrative Reserve Bank generally               collateral) or as agent (for example,                  including suggestions for reducing this
will be the Reserve Bank where the head             Treasury Tax and Loan collateral).                     burden to the Regulatory Secretariat
office of the bank is located.                        By order of the Board of Governors of the            (VIR), General Services Administration,
   In the case of families of U.S.                  Federal Reserve System, November 24, 2004.             Room 4035, 1800 F Street, NW.,
branches and agencies of the same                                                                          Washington, DC 20405. Please cite OMB
                                                    Jennifer J. Johnson,
foreign banking organization, the                                                                          Control No. 3090-0086, Proposal to
                                                    Secretary of the Board.
administrative Reserve Bank generally is                                                                   Lease Space (Not Required By
                                                    [FR Doc. 04-26444 Filed 11-30-04; 8:45 am]
the Reserve Bank that exercises the                                                                        Regulation), GSA Form 1364, in all
                                                    BILLING CODE 6210-01—P
Federal Reserve's oversight                                                                                correspondence.
responsibilities under the International                                                                   SUPPLEMENTARY INFORMATION:
Banking Act. 68 The administrative                     69 As in the case of Edge and agreement
                                                    corporations and their branches, with the approval     A. Purpose
Reserve Bank, in consultation with the
                                                    of the designated administrative Reserve Bank, a
management of the foreign bank's U.S.               second Reserve Bank may assume the responsibility         The General Services Administration
operations and with Reserve Banks in                of managing and monitoring the net debit cap of        (GSA) has various mission
whose territory other U.S. agencies or              particular foreign branch and agency families. This
                                                                                                           responsibilities related to the
                                                    would often be the case when the payments activity
                                                    and national administrative office of the foreign      acquisition and provision of real
  67 Institutions that are monitored in real time
                                                    branch and agency family is located in one District,   property management, and disposal of
must fund the total amount of their ACH credit
                                                    while the oversight responsibility under the           real and personal property. These
originations in order for the transactions to be
                                                    International Banking Act is in another District. If
processed by the Federal Reserve, even if those                                                            mission responsibilities generate
                                                    asecond Reserve Bank assumes management
transactions are processed one or two days before
                                                    responsibility, monitoring data will be forwarded to   requirements that are realized through
settlement.
                                                    the designated administrator for use in the            the solicitation and award of leasing
    12 U.S.C. 3101-3108,                            supervisory process.                                   contracts. Individual solicitations and
